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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                                :    CHAPTER 13
                                                      :
EARNEST STRONG, JR.,                                  :    CASE NO. 18-58250-LRC
                                                      :
         Debtor.                                      :
                                                      :
                                                      :
FREEDOM MORTGAGE CORPORATION,                         :    CONTESTED MATTER
                                                      :
         Movant.                                      :
                                                      :
vs.                                                   :
EARNEST STRONG, JR.,
                                                      :
ROXANNE STRONG, Co-Debtor
MELISSA J. DAVEY, Trustee                             :
                                                      :
         Respondents.                                 :
                                                      :

              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY
                            AND CO-DEBTOR STAY

         Movant has filed documents with the court to obtain relief from the automatic stay and co-debtor
         stay.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant relief from the automatic stay and co-debtor stay or if you
         want the court to consider your views on the motion, then you or your attorney shall attend the
         hearing scheduled to be held on

         March 17, 2020 at 1:15pm at the United States Bankruptcy Court, 75 Ted Turner
         Drive S.W., Courtroom 1204, Atlanta, Georgia 30303.

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
         relief sought in the motion and may enter an order granting relief.

         You may also file a written response to the pleading with the Clerk at the address stated below,
         but you are not required to do so. If you file a written response, you must attach a certificate
         stating when, how and on whom (including addresses) you served the response. Send your
         response so that it is received by the Clerk at least two business days before the hearing.
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     If a hearing on the motion for relief from the automatic stay and co-debtor stay cannot be held
     within thirty (30) days, Movant waives the requirement for holding a preliminary hearing within
     thirty days of filing the motion and agrees to a hearing on the earliest possible date. Movant
     consents to the automatic stay remaining in effect until the Court orders otherwise.

     The address of the Clerk's Office is: Clerk, 75 Ted Turner Drive S.W., Suite 1340, Atlanta,
     Georgia 30303. You must also send a copy of your response to the undersigned at the address
     stated below.


     Dated this:   2/12/2020



                                              /s/ John D. Schlotter
                                              John D. Schlotter, GA BAR NO. 629456
                                              Attorney for Movant
                                              McCalla Raymer Leibert Pierce, LLC
                                              1544 Old Alabama Road
                                              Roswell, Georgia 30076
                                              678-281-6453
                                              John.Schlotter@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    ) CHAPTER 13
                                                          )
EARNEST STRONG, JR.,                                      ) CASE NO. 18-58250-LRC
                                                          )
         Debtor.                                          )
                                                          )
                                                          )
FREEDOM MORTGAGE CORPORATION,                             ) CONTESTED MATTER
                                                          )
         Movant.                                          )
                                                          )
vs.                                                       )
EARNEST STRONG, JR.,                                      )
ROXANNE STRONG, Co-Debtor                                 )
MELISSA J. DAVEY, Trustee                                 )
                                                          )
         Respondents.


 MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND THE CO-DEBTOR STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay and under Section 1301(c) of the Bankruptcy Code for relief from the Co-Debtor

stay for all purposes allowed by law and the contract between the parties, including, but not

limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. Said real property is security for a promissory note, and is commonly known as 4112

Mistymorn Ln, Powder Springs, Georgia 30127-5612 (the “Property”).

                                                  3.
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        Debtor has defaulted in making payments which have come due since this case was filed.

As of January 31, 2020, Debtor is delinquent for two (2) payments of $683.78 each (December 1,

2019 through January 1, 2020); less $451.15 in post-petition suspense. The total post-

petition arrearage is $916.41, pursuant to the terms of the Note. An additional payment of

$683.78 will come due on February 1, 2020, making the total post petition arrearage of

$1,600.19.    In addition, Movant has also incurred post-petition Bankruptcy fees of $650.00, as

disclosed on the Notice of Post-petition Mortgage Fees, Expenses, and Charges filed November

14, 2018.

                                                 4.

        As of January 31, 2020, the unpaid principal balance is $78,943.44, and interest is due

thereon in accordance with the Note.

                                                 5.

        Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic

stay. Movant's interest would also be irreparably harmed by the continuation of the Co-Debtor

stay.   Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                 7.
                                                 6.

        Movant requests it be permitted to contact the Debtor and Co-Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

        WHEREFORE, Movant prays (1) for an Order modifying the automatic stay and Co-

Debtor Stay, authorizing Movant, its successors and assigns, to proceed with the exercise of its
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private power of sale and to foreclose under its Security Deed and appropriate state statutes; (2)

for an award of reasonable attorney’s fees; (3) that Movant, at its option, be permitted to contact

the Debtor and Co-Debtor via telephone or written correspondence regarding potential loss

mitigation options pursuant to applicable non-bankruptcy law, including loan modifications,

deeds in lieu of foreclosure, short sales and/or any other potential loan workouts or loss

mitigation agreements; (4) for waiver of Bankruptcy Rule 4001 (a)(3); and (5) for such other and

further relief as is just and equitable.


                                              /s/   John D. Schlotter
                                             John D. Schlotter, Georgia BAR NO. 629456
                                             Attorney for Movant
                                             McCalla Raymer Leibert Pierce, LLC
                                             1544 Old Alabama Road
                                             Roswell, Georgia 30076
                                             678-281-6453
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                                             John.Schlotter@mccalla.com
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                                              BANKRUPTCY CASE NO. 18-58250-LRC

                                              CHAPTER 13

                                  CERTIFICATE OF SERVICE

      I, John D. Schlotter, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND
THE CO-DEBTOR STAY filed in this bankruptcy matter on the following parties at the addresses
shown, by regular United States Mail, postage prepaid, unless another manner of service is expressly
indicated:

Earnest Strong, Jr.
4112 Mistymorn Lane
Powder Springs, GA 30127-5612

Roxanne Strong
108 Brown Ave
Atlanta, GA 30315

Howard P. Slomka                              (served via ECF notification)
Slipakoff & Slomka, PC
Suite 2100
3350 Riverwood Parkway
Atlanta, GA 30339

Melissa J. Davey, Trustee                     (served via ECF notification)
260 Peachtree Street, NW
Suite 200
Atlanta, GA 30303


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:     2/12/2020        By:     /s/ John D. Schlotter
                     (date)               John D. Schlotter Georgia BAR NO. 629456
                                          Attorney for Movant
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    Prepared By:




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                                                    SECURITY DEED
                                                                            MIN




   DEFINITIONS

   Words used in multiple sections of this document are defined below and other words are defined in
   Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of "lords used in this document are
   also provided in Section 16.

   (A) "Security Instrument" means this document, which is dated March l4, 2015
   together with all Riders to this document.
   (B) "Borrower" is Earnest Strong and Roxanne Strong, as joint tenants with
   survivorship and not as tenants in common, for and ,:luring their joint
   lives, and upon the death of either of them, then to the survivor of
   them




   Borrower is the grantor under this Security Instrument.




   1--
   (C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS :s a separate corporation that is
   acting solely as a nominee for Lender and Lender's successors and assigns. MERS is the grantee under
   this Security Instrument. MERS is organized and existing under the .laws of Delaware, and has an
   address and telephone number of P.O. Box 2026, Flint, Ml 48501-2026, te:. (888) 679-MERS.



   GOORGIA-Slngle Family-Fannie Mae/Freddle Mac UNIFORM INSTRUMENT WITH MERS                       Form 3011 1/01

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